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                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF MINNESOTA

In re:

E151 Minnesota Inc.,

                   Debtor.                  BKY 09-48229
______________________________________________________________________________

       AMENDED ORDER PURSUANT TO SECTIONS 363(b), (f) AND (m) OF THE
BANKRUPTCY CODE AND BANKRUPTCY RULES 2002 AND 6004 AUTHORIZING THE
    TRUSTEE TO SELL RIGHTS TO PAYMENTS TO WHICH THE ESTATE MAY BE
                      ENTITLED PURSUANT TO A CLASS ACTION
______________________________________________________________________________
At Minneapolis, Minnesota, September 16, 2011.

                    Upon the motion dated August 25, 2011 of Timothy D. Moratzka, trustee pursuant to

section 363 of title 11 of the United States Code and Rules 2002 and 6004 of the Federal Rules of

Bankruptcy Procedure to approve a sale to Cascade Settlement Services, LLC free and clear of liens,

claims and encumbrances including that of Katz Funding (Minnesota) Inc. for $130,000 as more fully

set forth in the motion pursuant to the agreement attached to the motion. Proper notice of the motion

having been provided and a hearing having been held on September 14, 2011,

                    IT IS ORDERED:

                    1.         The motion is granted, the terms of the sale agreement approved, and the

trustee is authorized to perform the under the sale agreement.

                    2.         The lien of Katz Funding (Minnesota) Inc. shall attach to the proceeds of the

sale with the same force, effect, and priority its lien had on the estate’s right to the asset subject to the

rights and defenses of the estate and any party in interest.

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                                                      ROBERT J. KRESSEL
                                                      UNITED STATES BANKRUPTCY JUDGE

NOTICE OF ELECTRONIC ENTRY AND
FILING ORDER OR JUDGMENT
Filed and Docket Entry made on 09/16/2011
Lori Vosejpka, Clerk, by LH
